        Case 4:21-cv-00047-BMM Document 53 Filed 03/15/22 Page 1 of 4



T ODD KIM
ASSISTANT ATTORNEY GENERAL

BENJAMIN J. GRILLOT
COBY HOWELL
KRISTOFOR R. SWANSON
Environment & Natural Resources Division
U.S. Department of Justice

[contact information in signature block]
Attorneys for Federal Defendants

               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

CENTER FOR BIOLOGICAL
DIVERSITY, et al.,
            Plaintiffs,
                   v.
LT. GEN SCOTT A. SPELLMON, et
al.,                                        Case No. 4:21-cv-00047-BMM
            Federal Defendants,
                                            Federal Defendants’ Motion for
            and                             Extension of Time to File Cross-
                                            Motion and Response (re: ECF
AMERICAN GAS ASSOCIATION,                   No. 48)
et al.,
            Defendant-Intervenors,
            and
STATE OF MONTANA,
            Defendant-Intervenor.
        Case 4:21-cv-00047-BMM Document 53 Filed 03/15/22 Page 2 of 4



      Pursuant to Local Civil Rule 7.1, Federal Defendants Lt. Gen. Scott A.

Spellmon, in his official capacity as U.S. Army Chief of Engineers, and the U.S.

Army Corps of Engineers move for a one-week extension of time (to March 25) to

file their Cross Motion for Summary Judgment and Response to Plaintiffs’ Motion.

This is Federal Defendants’ second request. Defendant-Intervenors do not oppose

this extension; Plaintiffs oppose. 1

      Good cause exists for granting the motion. The Army has requested that the

undersigned seek an additional week to facilitate internal coordination on Federal

Defendants’ draft summary judgment brief. And the extension will not impact the

remaining deadlines in the case, nor delay resolution of the cross-motions. In the

Court’s original scheduling order, Defendant-Intervenors had one week after

Federal Defendants’ cross-motion and response to file their own cross-motions and

responses. See ECF No. 31. In granting Federal Defendants’ prior extension—

which Federal Defendants requested because one of their counsel was ill—the gap

between Federal Defendants’ and Defendant-Intervenors’ cross-motions was

extended to two weeks. See ECF No. 48. Thus, Federal Defendants’ present

motion would return the brief sequencing to its original spacing, and briefing




1
  If the Court were to grant the extension, Defendant-Intervenors requested a
commensurate extension of their April 1 briefing deadline. We have not included
that request here given Plaintiffs’ opposition to any further delay in the case.
       Case 4:21-cv-00047-BMM Document 53 Filed 03/15/22 Page 3 of 4



would still be completed on May 27, as presently scheduled. The Court could

maintain the June 6 hearing date for the cross-motions.

      Based upon the forgoing the Federal Defendants respectfully request that the

Court grant them a one week extension (to March 25) to file their summary

judgment response and cross-motion.




Dated: March 15, 2022           Respectfully submitted,

MARK STEGER SMITH                     T ODD S. KIM
Assistant U.S. Attorney               Assistant Attorney General
Office of the U.S. Attorney
2601 Second Ave. North, Ste. 3200     /s/ Benjamin J. Grillot
Billings, MT 59101                    BENJAMIN J. GRILLOT
Tel: (406) 247-4667                   (D.C. Bar No. 982114)
Fax: (406) 657-6058                   Environmental Defense Section
mark.smith3@usdoj.gov                 Envt. & Natural Resources Div.
                                      U.S. Department of Justice
                                      P.O. Box 7611
                                      Washington, DC 20044-7611
                                      Tel: (202) 305-0303
                                      Fax: (202) 305-0506
                                      benjamin.grillot@usdoj.gov

                                      KRISTOFOR R. SWANSON
                                      (Colo. Bar No. 39378)
                                      Natural Resources Section
                                      Envt. & Natural Resources Div.
                                      U.S. Department of Justice
                                      P.O. Box 7611
                                      Washington, DC 20044-7611
                                      Tel: (202) 305-0248
                                      Fax: (202) 305-0506
                                      kristofor.swanson@usdoj.gov
       Case 4:21-cv-00047-BMM Document 53 Filed 03/15/22 Page 4 of 4




                                      COBY HOWELL
                                      Senior Trial Attorney
                                      Wildlife & Marine Resources Section
                                      Envt. & Natural Resources Div.
                                      U.S. Department of Justice
                                      1000 SW Third Ave Suite 600
                                      Portland, OR 97204
                                      503-727-1044
                                      coby.howell@usdoj.gov

                        CERTIFICATE OF SERVICE

      I hereby certify that on March 15, 2022, I filed the foregoing Motion for

Extension of Time to File Cross-Motion and Response (re: ECF No. 48) on all

counsel of record via the Court’s CM/ECF system.

                                            /s/ Benjamin Grillot_____
                                            BENJAMIN J. GRILLOT
